                          UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF TENNESSEE
                                AT GREENEVILLE


 UNITED STATES OF AMERICA                        )
                                                 )
 v.                                              )       No. 2:14-CR-098
                                                 )
 LEE PATRICK ANTJUAN LINDSEY                     )

                            MEMORANDUM AND ORDER

               This case is set for trial on November 13, 2014, with a plea deadline of

  October 30, 2014. Now before the court is the defendant’s “Motion to Continue Plea

  Deadline and Trial Date” [doc. 59], by which the defendant “requests a one-week

  continuance of the plea deadline and trial date.” The defendant states that additional

  time is needed to acquire and review further discovery in order to determine whether

  he should plead or go to trial. The United States does not oppose the request.

               Having considered the parties’ positions, the court finds that the ends of

  justice served by granting the motion outweigh the best interests of the public and the

  defendant in a speedy trial. 18 U.S.C. § 3161(h)(7)(A). The court further finds that the

  failure to grant the motion would deny the defense reasonable time necessary for

  effective preparation. 18 U.S.C. § 3161(h)(7)(B)(iv). The motion requires a delay in

  the proceedings. Therefore, all the time from the filing of the motion to the new trial

  date is excludable as provided by the Speedy Trial Act. 18 U.S.C. § 3161(h)(7)(A).

               The defendant’s motion [doc. 59] is GRANTED. This criminal case is

  CONTINUED from November 13, 2014, to Thursday, November 20, 2014, at 9:00



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  a.m. in Greeneville. The new plea cutoff date is November 6, 2014.



              IT IS SO ORDERED.

                                                      ENTER:



                                                             s/ Leon Jordan
                                                       United States District Judge




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